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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :       Case No:
                                            :
              v.                            :
                                            :       1:21-mj-71 (ZMF)
                                            :
LISA EISENHART,                             :
ERIC MUNCHEL,                               :
                                            :
              Defendants.                   :
                                            :

                     GOVERNMENT’S TRANSPORT STATUS REPORT

       The United States hereby submits the following status report concerning the transport of

defendants Eric Munchel and Lisa Eisenhart from the Middle District of Tennessee to the District of

Columbia to face criminal prosecution.

       1. On January 10, 2021, Munchel was arrested in Tennessee under a complaint/warrant issued

          by Magistrate Judge G. Michael Harvey. The complaint charged the defendant with

          entering a restricted building without lawful authority, in violation of 18 U.S.C. § 1752(a)

          (a misdemeanor), and violent entry on Capitol grounds, in violation of 40 U.S.C.

          § 5104(e)(2) (a felony).

       2. On January 11, 2021, Munchel made his initial appearance in the Middle District of

          Tennessee. The government moved for detention.

       3. On January 16, 2021, the government applied for, and Magistrate Judge Zia M. Faruqui

          approved, a new criminal complaint based on subsequently obtained evidence that jointly

          charged Munchel and Eisenhart with the same offenses with which Munchel was originally

          charged, along with civil disorder (a felony), in violation of 18 U.S.C. § 231(a)(3), and

          conspiracy to commit that and the two offenses in the original complaint, in violation of

          18 U.S.C. § 371.

       4. Later that day, Eisenhart was arrested in Tennessee. The government moved for detention

          at her initial appearance.
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5. On January 22, 2021, Magistrate Judge Jeffrey S. Frensley of the Middle District of

   Tennessee conducted a preliminary and detention hearing for Munchel. Magistrate Judge

   Frensley found probable cause, denied the government’s detention motion, and ordered

   Munchel released to home confinement. At the government’s request, Magistrate Judge

   Frensley stayed the release order until Monday, January 25 at 11:00 a.m. EST.

6. On January 25, 2021, Magistrate Judge Jeffrey S. Frensley conducted a preliminary and

   detention hearing for Eisenhart. As with Munchel, Magistrate Judge Frensley found

   probable cause, denied the government’s detention motion, and ordered Eisenhart released

   to home confinement. At the government’s request, Magistrate Judge Frensley stayed the

   release order until Monday, January 26 at 6:00 p.m. EST.

7. In both cases, the government appealed the detention rulings to this Court and requested

   for emergency stays until resolution of the appeals. The emergency stays were both

   immediately granted and the appeals remain pending. The Court further ordered the

   defendants to be transported to the District of Columbia “forthwith.”

8. On February 4, 2021, defendants filed a joint motion to rescind the release order stays.

9. On February 5, 2021, this Court issued a Minute Order for the government to submit by

   February 9, 2021, a status report to address “defendants’ representations that they both

   remain detained in the Middle District of Tennessee and have not been transported to

   Washington, D.C.,” as well as “their anticipated arrival date.”

10. As of February 9, 2021, neither defendant has been transported to the District of Columbia.

11. Based on representations by the United States Marshals Service, the government submits

   that both defendants still remain in the Middle District of Tennessee. While both transport

   orders were immediately submitted upon issuance, transport delays have arisen due to

   precautions stemming from the current COVID-19 pandemic. The Marshals Service is,

   nevertheless, expecting that both defendants will be transported directly to the District of

   Columbia by the end of this week.
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                           Respectfully Submitted,


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                           Acting United States Attorney



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